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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

In Re:                                               )
                                                     )
MOTION TO UNSEAL SEARCH WARRANTS                     )      No. 1:25-mc-00022-TWP-TAB
                                                     )


    ORDER GRANTING MOTION FOR LEAVE TO APPEAR AS AMICUS CURIAE

         Dr. XiaoFeng Wang and Nianli Ma, by counsel, filed their Motion for Leave to Appear as

 Amicus Curiae and attached their proposed brief accordingly. The Petitioner does not object to this

 motion and the Government takes no position. The motion, dkt. [16], is granted.

         Dr. XiaoFeng Wang and Nianli Ma are permitted to participate in this matter as amicus

 curiae. The clerk is directed to re-docket the proposed brief, dkt. 16-2, as Amicus Curiae Brief.

         SO ORDERED.

         Date: 7/3/2025



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